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                    Exhibit C-36
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Norwich University Partners with Pearson
Embanet to Provide Reliable Help Desk
Support and Hosting Services
Partnership Provides Quality of Service and Student Experience in Online
Learning Programs

OVERVIEW
Norwich University, the first and oldest private military college in the nation, is one of the six senior military
colleges in the U.S. The institution offers academic programs to a geographically diverse online student population,
of which approximately one-fourth are active duty military located around the globe.
Norwich University and Pearson Embanet partnered to ensure that the student experience — for both master’s
and bachelor’s degree students across more than ten programs — is consistently positive, facilitates learning, and
aligns with the Norwich brand.

CHALLENGE
As Norwich launched its first online master’s program in 1997, it was clear that providing a consistent and
ubiquitous help desk experience would be of the utmost importance.
When assessing whether the college should develop an in-house user support and hosting team, Norwich
determined that its location in Central Vermont would make staffing the operation challenging. Finding a service
provider who could ensure reliable hosting of the Norwich Learning Management System (LMS), as well as provide
students with an exceptional help desk experience, was the logical choice.
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SOLUTION                                                                                                                 BENEFITS                                               CURRENT NUMBER OF ACTIVE NORWICH
Norwich turned to Pearson Embanet to manage these critical services, ensure a high-quality level of support,             Pearson Embanet has provided Norwich with
                                                                                                                                                                                STUDENTS, INSTRUCTORS & STAFF
                                                                                                                                                                                SUPPORTED BY PEARSON EMBANET:




                                                                                                                                                                                2 ,0 2 2
and maintain a positive student learning experience throughout the online environment. Norwich chose Pearson             exceptional support for its students, faculty,
Embanet for its clear focus on serving students. Over the 16-year partnership and through five LMS migrations,           and staff, supporting thousands of users and
Norwich has also come to value Pearson Embanet’s technical expertise, its willingness to put the needs of Norwich        has managed and closed over 10,000 help desk
first, and its dedication to collaborative decision making about hosting options, user support, and LMS functionality.   inquiries.
                                                                                                                         “Our dedicated account manager consistently
Hosting Services
                                                                                                                         advocates for our needs, makes well-informed
Pearson Embanet offers highly reliable and secure            learning environment whenever they log on. With a
                                                                                                                         recommendations for our consideration, and             When students, faculty and administrators need help,
hosting services to ensure that the online learning          hosted solution from Pearson Embanet, the online
                                                                                                                         facilitates a professional working relationship that   Pearson Embanet’s skilled team is there to provide
platform is readily available. Pearson Embanet data          learning environment is easily scalable to accommodate
                                                                                                                         makes our partnership productive and strong —          personalized attention and support. Users repeatedly
centers are staffed and monitored 24 hours a day and         an organization’s changing needs and is always available
                                                                                                                         all for the benefit of our students,” said Debra       report positive experiences while interacting with the
seven days a week to guarantee that users have the           to an institution’s users, no matter what’s happening on
                                                                                                                         Wick, Associate Dean of Administration for             Pearson Embanet help desk team.
best, fastest, and most reliable access to their online      campus.
                                                                                                                         Norwich’s College of Graduate and Continuing
                                                                                                                         Studies.
Help Desk Services                                                                                                                                                              U S ER SATI S FACTION R ATES:



                                                                                                                                                                                97.29
In the online learning environment, timing is critical and   full-time technical support professionals with specific     When Norwich made the decision to move to the


                                                                                                                                                                                                                                   %
users can be easily frustrated by technical problems that    expertise on their LMS platform. Pearson Embanet            Moodle LMS, there was no question that Pearson
prevent them from taking full advantage of their learning    also supports a number of other technologies used by        Embanet would host it and provide end-user help
resources.                                                   students and faculty, such as browsers and productivity     desk support for its 1,500+ students. In fact,
                                                             tools, the institution’s student portals, course content    Pearson Embanet is part of the Norwich Moodle
Furthermore, online learning environments are strictly
                                                             plug-ins, and tools such as Microsoft ® Office and          implementation team, providing expertise on
time-dependent, so hours lost to technical difficulties
                                                             Collaborate™.                                               everything from Moodle functionality to content
can have a major, negative impact on the online learning                                                                                                                        According to client satisfaction survey results, in 2012,
                                                                                                                         migration and systems integration.
experience for both faculty and students.                    Pearson Embanet’s help desk support staff provides                                                                 97.29 percent of users reported that they were either
With help desk services from Pearson Embanet, online         high-quality assistance and a satisfying customer support                                                          satisfied or extremely satisfied with the help they
students and faculty have 24/7/365 access to live,           experience each time a user calls.                                                                                 received from Pearson Embanet.
                                                                                                                           “Pearson Embanet has taken a
                                                                                                                           proactive role in our partnership
                                                                                                                           by making recommendations for
                                                                                                                           upcoming system enhancements,
                                                                                                                           leveraging resources to meet our
                                                                                                                           growing needs, providing expertise in
                                                                                                                           areas that are not our core business,
                                                                                                                           and taking the time to understand
                                                                                                                           our model in order to better inform
                                                                                                                           long-term strategic decision making.”
                                                                                                                            — Debra Wick
                                                                                                                                 Associate Dean of Administration,
                                                                                                                                 College of Graduate and Continuing
                                                                                                                                 Studies, Norwich University
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                                         “We are extremely satisfied with Pearson Embanet’s efforts on our behalf.
                                         The team consistently and professionally serves our students, helps us
                                         extend the Norwich brand, and keeps our needs at the forefront. We
                                         couldn’t ask for much more than that.”
                                           — Debra Wick
                                                    Associate Dean of Administration,
                                                    College of Graduate and Continuing Studies, Norwich University




               To learn how your institution can partner with Pearson Embanet to effectively
              manage help desk and LMS hosting services for your online programs, please visit
                                                         embanet.com/academicservices




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